Case 2:21-cv-00436 Document 2 Filed 08/04/21 Page 1 of 7 PageID #: 10




                                                     2:21-cv-00436
Case 2:21-cv-00436 Document 2 Filed 08/04/21 Page 2 of 7 PageID #: 11
Case 2:21-cv-00436 Document 2 Filed 08/04/21 Page 3 of 7 PageID #: 12
Case 2:21-cv-00436 Document 2 Filed 08/04/21 Page 4 of 7 PageID #: 13
Case 2:21-cv-00436 Document 2 Filed 08/04/21 Page 5 of 7 PageID #: 14
Case 2:21-cv-00436 Document 2 Filed 08/04/21 Page 6 of 7 PageID #: 15
Case 2:21-cv-00436 Document 2 Filed 08/04/21 Page 7 of 7 PageID #: 16
